08-13555-mg   Doc 24519-1   Filed 01/23/12 Entered 01/23/12 18:45:47   Exhibit A -
                             LBSF Letter Pg 1 of 4
08-13555-mg   Doc 24519-1   Filed 01/23/12 Entered 01/23/12 18:45:47   Exhibit A -
                             LBSF Letter Pg 2 of 4
08-13555-mg   Doc 24519-1   Filed 01/23/12 Entered 01/23/12 18:45:47   Exhibit A -
                             LBSF Letter Pg 3 of 4
08-13555-mg   Doc 24519-1   Filed 01/23/12 Entered 01/23/12 18:45:47   Exhibit A -
                             LBSF Letter Pg 4 of 4
